Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 1 of 25 PageID #:758




                                Exhibit A
Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 2 of 25 PageID #:759

           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
               COUNTY DEPARTMENT, CHANCERY DIVISION

      JOROME TIMS, individually and
      on behalf of all others similarly sit-
      uated,
                                                                                 JUDGE DAVID B. ATKINS
                     Plaintiff,                          No. 2019-CH-03522
                                                                                       FEB 26 2020
                             v.                          Calendar 16                Circuit Court·1879
      BLACK HORSE CARRIERS,                              Judge David B. Atkins
               Defendant.

                                          ORDER
        THIS CASE COMING TO BE HEARD on Defendant's Motion to Recon-
 sider, or in the Alternative for Appellate Certification, the court having re-
 viewed the written submissions and being fully advised in the premises,

         THE COURT HEREBY FINDS AND ORDERS:

      1. Defendant Black Horse Carriers now seeks reconsideration of this
         court's September 23, 2019 Order denying its Motion to Dismiss, finding
         that §13-205's "catch-all" 5-year statute of limitations applied and thus
         Plaintiffs action was timely filed. The court further found that §13-201's
         1-year limitations period did not apply to Plaintiffs statutory BIPA
         claims.

      2. As before, Plaintiffs reliance on Travelers Cas. and Sur. Co. v. Bowman 1
         is misplaced. The Illinois Supreme Court has not held that a 1-year lim-
         itations period applies to statutory claims under BIPA, particularly
         where such claims do not require any publication of the relevant infor-
         mation. Like this court, many courts in this Circuit have found 2 that the
         1-year period set forth in §13-201 does not apply in BIPA cases, but ra-
         ther §13-205's "catch-all" provision is applicable. Accordingly, Defend-
         ant's Motion to Reconsider is denied insofar as the court declines tore-
         consider its substantive ruling in the September 23, 2019 Order.

      3. Nevertheless, the court finds Appellate certification of the question is
         appropriate. As noted above, there is no direct authority in Illinois on
         what statute of limitations properly applies to claims under BIPA, and
         the issue has arisen in numerous such cases at the trial level, including
         this one. Especially in light of the impact a 1-year vs. 5-year period
         would have on the facts of this case, some guidance on the matter would

  1229 Il. 2d 461 (2008)
  2See, e.g. Robertson u. Hostmark Hospitality Group, 18 CH 5194 (Cir. Ct. Cook Cty. July 31,
  2019); Van Jacobs u. New World Van Lines, 19 CH 02619 (Cir. Ct. Cook Cty. October 29, 2019);
  and numerous others cited in full in Plaintiffs response to the instant Motion.
                                         Page 1 of 2
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       materially advance this litigation. The Motion is therefore granted in
       part in that the court hereby certifies the following question to the Illi-
       nois Appellate Court pursuant to Illinois Supreme Court Rule 308:
       whether the limitations periods set forth in 735 ILCS 5/13-201 ("Defa-
       mation- Privacy") or 735 ILCS 5/13-205 apply to claims brought under
       the Biometric Information Privacy Act, 740 ILCS 14/1, et seq.

                                                            JUDGE DAVID B. ATKINS
                                                         ENTERED:
                                                                   FEB 26 2020
                                                                Circuit Court-1879
                                                          Judge David B. Atkins
 The court.




                                   Page 2 of2
Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 4 of 25 PageID #:761




                                Exhibit B
          Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 5 of 25 PageID #:762
                                                                                                                           Filed
                                                                                                             Kankakee County
                                                                                                            21st Judicial Circuit
                                                                                                                      4/17/2020
                                                                                                              Sandra M Cianci
Sandra M. Cianci                                                                                            Circuit Court Clerk
Kankakee County Circuit Court Clerk
450 East Court Street  Kankakee, IL 60901
815-936-5700 (tel)  815-939-8830 (fax)
circuitclerk@k3county.net
                                                                                     Date: April 17, 2020

                                                                                     Case Number: 2019 L 000089
         Mara Baltabols
         The Fish Law Firm, P.C.
         admin@fishlawfirm.com


                                                       NOTIFICATION


IN RE:
SCOTT MARION-VS-RING CONTAINER TECHNOLOGIES

ENCLOSED, PLEASE FIND A COPY OF THE MINUTES THAT WERE ENTERED ON: 04/17/2020
BY THE HONORABLE JUDGE ADRIENNE W ALBRECHT

04/17/2020
The court, having considered the Defendant's Motion to Certify certain questions for interlocutory appeal, and Plaintiff's
response thereto concludes that the Motion to Certify should be allowed. This court is not aware of any guidance on any of the
three questions which the Defendant asks to certify for appeal from the Third District Appellate Court. It notes that the Third
District is not bound by any precedent from the First District Appellate Court. It further finds the issues to be novel.
Considering the novelty of the issues, the importance of them, and the numerous cases and litigants to which the answers
apply, the court believes the efficiency requires that the Defendant be given an opportunity to ask the Third District Appellate
Court to address them. Defendant is directed to draft and submit an order consistent with this ruling.
Further, the court directs that all further proceedings in this case be stayed pending disposition of the Defendant's Motion for
Leave to Appeal. (ALBRECHT)teh




                                                   YOURS TRULY,

                                                   Sandra M. Cianci
                                                   CLERK OF THE CIRCUIT COURT
                                                   KANKAKEE COUNTY COURTHOUSE
                                                   KANKAKEE, ILLINOIS 60901
          Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 6 of 25 PageID #:763
                                                                                                                           Filed
                                                                                                             Kankakee County
                                                                                                            21st Judicial Circuit
                                                                                                                      4/17/2020
                                                                                                              Sandra M Cianci
Sandra M. Cianci                                                                                            Circuit Court Clerk
Kankakee County Circuit Court Clerk
450 East Court Street  Kankakee, IL 60901
815-936-5700 (tel)  815-939-8830 (fax)
circuitclerk@k3county.net

                                                                                     Date: April 17, 2020

                                                                                     Case Number: 2019 L 000089
         Matthew C Wolfe mwolfe@shb.com
         Melissa A Siebert masiebert@shb.com
         Erika A Dirk      eadirk@shb.com
         Shook Hardy & Bacon LLP




                                                       NOTIFICATION


IN RE:
SCOTT MARION-VS-RING CONTAINER TECHNOLOGIES

ENCLOSED, PLEASE FIND A COPY OF THE MINUTES THAT WERE ENTERED ON: 04/17/2020
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Further, the court directs that all further proceedings in this case be stayed pending disposition of the Defendant's Motion for
Leave to Appeal. (ALBRECHT)teh




                                                   YOURS TRULY,

                                                   Sandra M. Cianci
                                                   CLERK OF THE CIRCUIT COURT
                                                   KANKAKEE COUNTY COURTHOUSE
                                                   KANKAKEE, ILLINOIS 60901
Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 7 of 25 PageID #:764




                                Exhibit C
 Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 8 of 25 PageID #:765




                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLl!'iOIS.,. N T
                      CO UNTY DEPARTM FlNT, CHANCER Y DIVISION, ,,,u~
                                                                                                             E fe E
                                                                                                r.,,'.' -. '·'·'-"· '":!
                                                                                                                            01
 ~~~~~~1~~~::.1!~~irorau
 others $imilarly situated,
                                                       ~
                                                       )
                                                                                        _,.!~A~;~.~'-•-•'
                                                                                  .,_♦ 1• c ,   ~~,ic-,,.. ~ll• ':' '       1
                                                                                                                                ~
                               Plaintiff,              )                          -, 01• .,     ;,   .,, -      •       _   ,. _ .   -



          v.                                           )        Case No. 18-CH-Sl.94
 IIOSTtlotARK DOSPIT ALITY                             )
 CROIJI?, INC., <t • ~                                 )
                                                       )
                           Otfcodants.,                )

                                MEMORANDUM AND ORDER
       Plaintiff Thomas Robcrtooo has filed a motion lQ rccon:sidcr this coun's .lonuary 27, 2020
Me,nnrat1dum and Order pursuant 10 73S II.CS 5/2-1203(0).
I.        lb.dcgro u:nd

        On April 20, 201 S. PlaiotilT Tbom;is Robenson ("Robertson··> filed his original eomplainl
alleging IDcfcooants Hostmadt Hospitality Group. In<:. ("HOSlmlrk'") ond Rainmx: Enterprises
Mm Pl- Inc. ("Rainaee") (collccti,-cly •Oefcndmtsj Yiol:ntd the Rinmctri~ lnfonnatioo
PriVIIC)' ACI (•fllPA").
        On April I. 2019. this tO\lrl grunted Robenson·s motion for leave 10 file an amended
closs action oomplaint (the· Amended C'.omplnin1"). The Amended Complnin1 now alleges three
counts, each rilleging • ,folation of• dill"orenu;ub.seetion of section IS of Bl PA. 740 ILC5
141 15.

        Count l alleges a violation of subsection 15(a) bas<:d upon Oefendants failure 10 institute,
m.1in1:tin. n.nd adhere to a publicly avnil!lhlc retention aod deletion schledulc for biometric cbt:1.
740 TT,CS 14/IS(a). Count 11 alleges• Yiol•tion of subs<cuon 15(b) based upon DefendanlS
fuilute 10 obtain written cooscn1 prio, 10 oollccting '10d releasing biomdric dau,,. 740 ILCS
1411S(b). Count 10 31k:gcs a Yiolalioo of subsection I 5(d) b:>secl up0n Dcfcncbnl:5 &ilure to
obtain oo,nscru before disclosin& biometric dala. 740 ILCS 14/ 1S(d).
       On July 31, 2019, this court i•sucd its Memor.mduro and On!crdcnying Defendants·
motion to dismiss Robertson's Aroondod ComplainL In summmy. this coun held 1hac (1)
Rolx;r1.son' s cloiro was not preempted by the Illinois Workers ComJ)Ol)sotion AC1; (2) the
<1pplic11blc smtu1eoflimi1a1ions w:is live years, as provided for in 735 ILCS S/13-205; and (3)
Rob<ln.,on had adcqua1eJy pied his clnim.
      A• imn orthc court's July 31, 20 19 rulill$, this court addr<$$cd the p.inics' ari:uments
n:prding the date Defendants SU>ppc<I collecting Robertson's biometric infonmation but did DOI
~ their argurne,,is _.Jing when Robcttsoo· s claims accrued.


                                                   1
Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 9 of 25 PageID #:766




        On August JO, 2019. DefcndMis filed their motioo 10 roconsidaand certify questions to
the appellate eourt. In their motion IO m:on.<idcr. Def<ndonlS qucd. inl,r alia. Llw Ibis <Outt
erred in applying o five-year statute of limiL11ions to Robertson•s claim. On September 4.2019,
tbis COllrl denied Dcfcodanis' mo1ion. in p:irl. but allowed fur.ihcr briefing on ihe lssoo of ~,c
application of the n~-e.yeor statute of limitation.
      On January 27, 2020. this court issued ilS Memorandum and Order granli.nS in part Bild
denying in pan Defendants" motion to r=>n$idcr. The 00\lrt held tbaI Robmson'$ claims
relating to Defcn(l(lnlS' alleged violations of section I S(b) and I S(d) accrued in 2010. The court
found IJ,at the oontinuin& violatioo rule did not apply 10 RobertSOn ·s claims because the
violations of scclioos l S(b) and I S(d) repn:sc:nted a single disa-,1e act from which any damages
flowe<I. Thus. it,.,.,, held !hat Co,;nis a ...,d JU were lxlrrod by the five SUltute of limitations.
         Regwdin; Count I, the court vie"-..! section I S(a) as illlj)OSing two distioct requirements:
(I) nx1uiring private entities to develop• publicly available re<entioo scliodule and deletion
iJ.uide1iocs; and (2) rcqoitin& the pcrmttnent dt.:letion or u.n individual's biometric data, either in
occordo,nec "ith the deletion guidelines or within 3 ycm of the iodividual"s last inloracrion will>
lbe private entity. whichever is earlier.
       The coun held lhal sioce it wa.< Dcfcndanis' staled posilion that 1hey ceased collection of
biomc:ttic dala in 2013, the Dl3lb di(uted by 5(:Clion IS(a) resulis in the oooclusion dw
Robenson's claim could not have st,~rted to occrue until. at the eadiest. 2016. Acoording.ly.
Robenson ·s claim w;,s 001 barred by lbe five-year smtute of limitution.o:.
ll.      Motio,n to Recon~ick-r
        A. Application qfth, Continuing Violation Rul,

        -Toe inu:nded purpo,;c ofa motiort co rocoosidcr is to bring 10 the court's Oltaltioo oewly
discovc:red evidence, changes in the law. or c.rrors in lhe court's previous opplication of exiJtin,g
bw." Chcll;nvo y. SoylhlandCom,, 331111. App. 3d 716. 729-JO (l• DiSL 2002). A pany may
not raise 0. lle\V l~:il or fuctual argument in a motion to rtt0osidc:r. Nonh Ri\,'er lns Co. y
Grinnc! I Mut. Rcjnsuran,;c Co.• 369 Ul. App. 3d 563. 572 (I" Dist. 2006).
       'Robertson's=• Motion IO Reconsider oftbiscourfs January 27. 2020 Memorandwn
Ul\d Order re-iten\t(."S his prtviously stated p0sition that his claim is \\'ell within the statute of
lim.iwions becau.~ be was a victim of a continuing ,~olution of his .ri_ghts under Rll'A.
Alt~ivdy, he sc:d<s 10 cottify the question IO 1k First District pursuan1 to Ulinois Supreme
Coun Rule 304(a). 1




        !Not swprisingJy. Dcfeodanis argue this coun properly •pplicd ,1,e law sum,unding
continuing violations lo RobcrtSOo's 9IPA clnims. Altornoti""'r. Ocf-'anis~ tha1 irthe
,,uestion is to be certified il should be pursuant 10 Illinois Supreme Coun Rule 308.


                                                   2
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        Rohert.~n'"~ moSt rece-nt request suggests ih.at the proper applicatiot1 oflhe corniuuing
violation rule is illustrated by Cunningham v. Hu!li!!l!n, 154 LI.I. 2d 398,406 (1993).
       Cunning\\;lJII involvoo a muller of first impression, namely, ·'whether the Ulinois four-
year starurte of repose is tolled until the date of last treatment when there is an ongoing
patient/physician relationship." Cunningham v, H11fflJJll11. 154 UI. 2d 398,400 (1993). The trial
court foutid that the plaintitrs dai.ms were time~barred and the cotiti.nuous course of treatment
doctrine was not the law in Illinois. !Jj. at 40 J. The Appellate Court affirmed the dismfasal stoting
Lhat ''in med:icaJ malpractice actions, the statute of repose is triggered only on the last day of
trcatmcn'l, and if the trcatmCtll is for I.be same conditioo, there is no requiremeoL that the
negligence be continuous throughout the trcatmcnl. I.ci at 403.
       The lllioois Supi:ewe Court dee.lined to adopt the continuous coutSe oftreaonent doctrine.
Ma at 403-04. Nonetheless, the court held that statutory scheme did not necessarily pre-elude the
cause of action as.serted by the plaintiff. Id. al 404. Specifically, the court held that the medical
trcatmcnl statue of r<:p(>S<: would not bar the plaintiff's action ,f he could demonstrate: ( I) that
there \.Vas a continuotLc; and unbroken course of negligent t:reatm<:..nt. and (2) that lb.e treatment
was so related as to co.nsliw.te-one contiimi1lg ,wong." ld. at 406 (empha.~is in original). The
Illinois Supreme Court cmphasW.."d "'that there mus.t be a continuous collfSe of ncg/igeni
treatmeO'.t as opposed to a mere continuous c.oursc of ~tment.'~ 14.,. at 407 (emphasis in
original) .
        R.obei:tson's assertion is that Cunningham stands for the proposition tha1 "the continuing
vi61Mi61't d?><!triM applies wber~ a plaintiff den,on!llrfiles a eominuou.~ filld unbmken co= of
conduct~so relat.ed as to constitute one continuous wrong, ... (Motion at 5).
        But the ll.linois Supreme Court bas explicitly rcjoc-ted Robertson's atgument, stating
"(t]he Cunningham opinioo did not adopt a continu.ingvioJation rule ofgencnd
applics.bility in all tort cases or, as here, cases i.nvolvfog a S,t.atutory ca.use of action. Rather,
the result in Cunnin~ was based on interpretation of the language contained in the medical
malpractice statute ofreposc." Belleville Toyota v. Tovota Motor Sales. (J.S.A., 199111. 2d 325.
347 (2002)(Fit7.gerald, ))(emphasis OW$).
       Robert.son. ignores Belleville and replies that " [(}here is no biodi.og authotity to which the
Coun may tum for guidance on lbe exact issue regarding whether the conli.nuiog violation
doctrine applies." (Reply at 4).
         Whjle Justice Fitzgerald' s written opi.nioo i.n Gelleville is pretty solid authority to thi:
coolta!')',. as this court prcviousJy pointed out, the first District has cons.idered "(w)hether a series
of conveTSioos of negotiable instruments ove.r time can constitute a continuing violation under
Belleville Toyo1a. Tne, v. Tovota Motor Sales U.S.A.. loc. 199 UL 2d 325 (2002), for the
purpOse of detem1.ining when the statute of limitations fWlS. " Kidney Canw A5-'i'X? -V. North
Shore Com. Rank. 373111.App.Jd 3%, 397-98 (1" Dist. 2007). The court reasoned that wbc,:e a
complaint alleges n s,;ri~J wnver.;ion of negotiable instruments by a defendant, it cannot be
denied that a sing.le unauthorized depoSil of a check in an account opened by the defeodant gives
the plaintiff a right to file a co.nver.:ion action. jg. at 405. The court rejected the plaintiJl's claim

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that the defendaol's repeated deposits (identical conversions) following the initial deposit scrv1,,.-d
to toll the staMe of limitations under the continuing violation :tule. Id. lnstc:-,.1,d. according to the
ooutt, each discrete ::1ct (deposit) provided a ba~i.s for a cause of action and I.be oourt need not
look to the <lefen<lant,s conduct as a contlnuous whole tOr prescri.plivc purposes. Id.
       In ROSenhach v. Six EJar s Entertainment Coro.. 2019 IL 123186, 133, the Illinois
Supreme Court held ·when a private entity fail~ to compJy with one of section 15's
requirements, lhat violation is it~lf sufficient lO support the individuaJ's or customer's
statutory cause of action. fd. (empha.,is ours).

      Robertson,s Amended Complaint alleges that his statutory rights \vcrc invaded in 2010,
when Defendants allegedly lkst collee1ed and disseminated his biometric data without
complying v.ith section I S's requirements. (Amended Complaint at 142).
       In our Jaow.1,ry 27. 2020 Memorandum and Order. this court explaiocd I.hat under the
general 111.Ue a cause of action for a statutol'y violation acc:roes at the time a plaintiffs intc-rcst is
invaded. Blair v. Nevada l,1tl<ling Partn<()ihin, 369 Ill. App. 3d 318,323 (2nd Dist. 2006) (citing
Fc(tmcicr v. Feltmcier, 207111. 2d 263, 278-279 (2003)(''where there is• si,,gle overt ,,ct from
which subsequent damages may flow, the s!llrute begins to run on the date the defendant invaded
the plaintiffs interest and inflicted injury. and this is so despite the cootiouiog nature of the
i.njw:y.".Il!, 207 UJ. 2d at 279); sec also, Limestone Development Coro. v. Vill3i?e ofLemon!,
520 F.3d 797, 801 (7th Cir. 2(1()8) (""ll1e office oflbe misoame,d doctrine is to allow suit to be
delayed until a series of wrongful acts blossoms into an injury on which suit can be broughL
[¢itMfoM]. It is thU.\ a dMli'iilt 1161Ml<\Ul a M~tinui~~, llut ab<,ut a tilMUIM,'\16, 'vi61atic)d.11).
         Here, lhis court rcsp<.,-ctfully disagr(."1,,."S with Robcrlson concerning the application of
continuing violarion rule. ft wa~ Defendants' alleged failure 10 firSt obtain Rober1.SOn~s WTittc:n
consent before collecting his biometric data ·which is the essence of and gave rise to the cause of
actio1), not thelr continuing failure to do so. Robertsoo's statutory right.:; 'A'ere violated in 2010
when De fondants allegedly first collected and disseminated his biometric data v.ithout
oomplyiog wilh section 1S's .requirements.
             Per r.:eJtmeier, «-where there is a sing.le overt act from which sub..:;.eq-uenLdamages rrta)'
Dow, the $1.atute begi.ns I.() run oo tbe date the defendanl invaded the plainti.O's i.ote~t aod
 inflicted inju,y, and this is so despite the continuing nature of the inju,y." !!!,_, 207 111. 2d at 279.
·1'hal Defendant,; lacked the wriuen release to collect and oonsem to disseminate Robertson's
biometric d:.lw .from 2010 un6J they ceased collection, does no1 change the fact Rober{S()n·s
statutory rights were violated in 2010 nor docs it serve to delay or toll the st.."ltutc of limitatlons.
I!!; :;.s !!l.l;Q, Book of Raveoswood v. Citv of Chicago, 307 Ill. App. 3d 161, 168 (I Sl DiSL 1999)
(holding that the action for trespass began accruing when the defendant invaded plaintiff's
 interest and the fact th.at subway was present below the ground was a continual ill effect from the
 i.oll..iaJ violation but .oot a contioual violatioo.).
        T b~ w~11 <JjcJ nol err ill bo.l\liog !h~I 1,1,\e co,1\in9i_n3 violation n;.le \lid 1lQt apply to
Robertson~s claims.
Case: 1:19-cv-00382 Document #: 120-1 Filed: 06/30/20 Page 12 of 25 PageID #:769




         B . Single v.s. 1lfultiplc Yit>/aJitms
         Robertson argues that this court erred in holding tbaLbis claims for violation of sections
1.5 (b) and (d) amount to single violations which occurred i.n20 l 0. Instead, according to
Robcrlson4each time Defendant~ collected or dissemioatcd his biometric data without a writtco
release oonslil\llcs a single actionable vjoJation.

         Robe.((S()n's argument is contrary to the unambiguous language of lhe statute and taken to
its logical conclusion would inexorably lead to an absurd result.
                                                            * ...,
        Section 10 of OlPA defines '"written release~' as:           ~r...)
                                                             informed writ1.eo co.u:.-;i:nt or, in
the cont<~XI ofemployment. a rehuLte executed by an employee as a conditio11 ofemployment."
740 ILCS 14110 (emphasis added).
         And, Section 15 (b)(3) of BlPA provides:
         (b) No ptivate entity may collec~ capom:, purchase. receive through trade, or
         otherv.ise obtain a person's or a customer's biometric ideoti6er oi:- bioroelJic
         infonnatfon, w1less it first: • .,. (3) receives a writteo rel~:.-;c executed by the
         subject of the biometric ideoti_fier or biometric information or the subject' s legally
         aulhorizod l'(.-prcscnlativc.
740 JLCS 14/15 (b)(3).
       Reading S<.'Ction IO and IS of BIPA together makes clear that the ••written release"
contemplated by section 15 (bX3) in the context of employment is to be exeevted as a co.ndilion
of employment. 740 ILCS 14/10 and l5(b)(3).
             As explained by the court i.o its Jan1.1,,zy 27. 2020 Memorandum and Order, "[t]he most
rea-oonab le and practical reading of section J5 (b) requires an employer to obtain a siogle written
rek.'itse-as n condition of c..-mploymcnt .from au. tmipl0yec or his or her k."galJy mtthorizcd
rcp.,.e:.-;t!oCalive lO al.low I.be oolJi:ctiOIJ of hjs or her bioro.c::Lr.ic dui.a for t.iroc:kr..-epiog purposes for
the duration of his or her employment Soch ;:1 reh:ase-J:K..-ed not be ex.ocutcd before every lll.'>1.nncc
an employee clock&-in and out, rather a single release should s.uffice to allow the coUectioo of an
employee's biometric data."" January 27, 2020 M'emorandum and Order at 4.

        Robenson admits that this is a reasonable reading, (Motion at 7), but argues that
Defendauts. having fai.led to obtain a wriuen release or his con.c;ent., had to obtain his writter\
release before coUccting bis biometric data. Since Defendants failed to do. Robertson argues,
eac.h time Defendant.~• collected Robertson's biometric is independently actionable.
        But, taken to its logical conclusion Rob<..-rtson's construction would lead employers to
p<>te-ntially face ruinous liability.

         Section 20ofBIPA provides any indi,idual aggrieved by a violation ofBJPA with a right
of action. and funhe.r provides that said individual may recover liquidated statutory damages for


                                                          5
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each vu,/oucn in the amount of either S l .000 for ncglig,:nt violntions or SS.000 for inteoriooal or
rockl= violations. 74-0 JLCS 14/20.
        Robertson alleges that he wo_, required to scan his fingerprintS l")~h time I><; clocked in
and ouL {Amended Complafot a1144), Th<:refore, at miJ\.tmunt, there cxi$\S tH Jcnst tv..o
polcntinUy recoverable violatior\S lbr each day Robertson w◊r.ked. l!xtending this to it.s logicaJ
conclusion, a plaintiff Like Robertson could potentially seek a 10ml of SS00.000 for oegligtnt
violations or $2.500.000 for in1entioMI or reckless violations for each    year  Defendants
allegedly violated BIPA.
        It is a well-settled legal principle Illa! SUtnnes should oot be consuucd tO reach absuni or
imprac1icablcn:sults.. Nowak v CiJY of Country Quh HjU~ WI I IL 111838, 21. which is
when: Robertson's argumem V."OU.ld mkc us. This coun finds nothing in the suuwe as it is written
oras it was enacted to indicate it was the c:onsidcRd iorent of 'lcgislarurc in passing BIPA 10
impo$C fir.ies so e.xrreme as to th.n.-atcn lhc existence of any business. r-qiurdlc:ss or its si7.e.
        C.      Section 15 (d)(l) - Ctmsentfor Disseminatio,.
        Section 15 (d)(I) ofl.llPA provides:
        (d) No private entity in possession ofa biometric identifier or biometric information
        may disclose.. redisclose. or ocbcrwisc diSSCl.ninate a pcrson·s or a cusromer"s
        bioroctric identifier or biomdric informatioo unless:

        ( I) the sobject of the biom<-1ric identifier or biometric infomllllion or the subject's
        legally authorized repr=nt:Uivc COIJ$.-ots to the disclosure or n:cli$closure:
                                           ••••    ♦




740 lLC.S 14/15 (d)( I}.
       Robertson's main contention here is tl,at; (I) he never alleged when Defendants actu'1lly
dis,cmln•tcd b.is biomelric data; •nd (2) • delendant can potcnli:,lly v;olate section I 5(d)
multiple times by disseminating un individua.l·s biometric to additional third-parties.
       But thiscoun did not rule th3t soctloo 15(d)(J) can only be viol•lcd • single time by a
defcndaol. Rather, it ruled that ba5cd on the allcg;,tioos as plod. R ~ ·• claim acaucd it>
2010.
         "l"he court m:ognizes that-• pbin1ilfis not required to plead facL, with precision wben
the information needed to plead 1ho.c facts is within the knowledge ond control of dcfeodant
ratlter lh•n plointiff." L.ozman y P111npm. 328 m. App. 3d 76b, 769-70 (Isl Dist. 2002).
1lowcvcr, even under Lhis standard a plaintiff may not simply plead 1he clements of" claim,
llohon" Re,<urrec-tion Hospim!. 88 1ll. App. 3d 655. 658 ( 1st Dist. l980). nor does this rule
excuse a plaintiff from alleging sufficient facts. Holton. 88 [I]_ App. 3d •t 658-59.




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       If Robertson was actually uying 10 allege that Defendants violated section J5(d)( I)
multiple times by disseminating his biometric data to multipfc third _parties on many occa..-.ioos
between 20 lO mld whenever l)efendams ceased colloction, this alJegation is om well-pl.t!<.1and
Robertso:o has not stated a claim t01' this fac:.tuai scem,rio. To be sure, Robertson's Amended
Complaint plaiofy alleges thm any dissemination occurred systematically and automatically, but
Robertson does not allege any underlying facts which support iliis assertion.
       Robertson also argues that it is possible for a private entity 10 ,,jolatc section 15(d)
multiple times and that therefore the court e.cred in bolding that Defendants violated Robertson's
section I.S(d)(I) statutory rights only in 2010. ("Defend,uiL~, al any point in time, could have
disseminated [his] biometric data to a11y rnunber of other t;Oti~i-cs, any number of time~ ovet any
period oftiroe," (Motion at 13)).
         Robertson alleges De1"udanls "disclose or disclosed (his) fingerprint dat,1 to at k-.st ooc
out-otcsmte third-party vendor, and likely others,'' (Ill at ~3}, but the allegatiou relating 10
"'likely others'· is not well pied. The A.mended Complainl contains no allegations alleging
Defendants disseminated Robertson's biometric data to additional third parties at some
undetermined point between 2()10 and the date J)efend"'1tS ceased collection.
       The Amcnde.d Comrlaint plainly alleges that any disseminations were, on information
and belief; doue "sys1ematica!ly or automatically," (ld. at 11133, 97). "(AJan allegation made
on information and belief is noLequivalent LO an allegatioo of relcv-.mt fact [citation]."? Golly v.
                        or
Eastman /In re ESl/li\! DjManeo\.2013 IL App (I st) 122948, ~ 83 (citation omitted).
         Witbou1 alleging tho supporting underlying facts which lc'lld Robertson to believe that his
biometric data was being systemically and automatically dissen1inated, his allegation regarding
additional dissemination to additional third pm.ies rernains ao unsupp0rred oooclusioo. The
same is tli\le for the ~1Ucgations Rob<.'11Son pleads on information and belief. Defendants are not
requfred 10 admit unsupported conclusions on a motion dismiss.
        Tibe court did not CJT.
Ill.     Motions to Ctrtify Qut-.~t'ions and/or Motion~ Leave to Appc.-al
        Robertson seeks leave to immediately appeal this coun 's orders pursuant to Ulinois
Supreme Court Rule 304(a). Defendants assert that Illinois Supreme Court Rule 308 is die better
pl:'occdunil vehicle aod seeks certification of three questions:
       I.Whether exclusivity provisions of the IUinois Worker's Compensation Act bar f3fPA
        claims?

       2. Whether BIPA cJai.ms are subject to the one-year SLaru.:te of limitations pur$U8JJL to 735
         ILCS 5/13-201 or the two-year statute of limitations pursuant lo 7JS ILCS 5/ 13-202?

       J. WheUter a claim for a viol.uion of section l5(a) ae<:rues when a private entity first comes
         ID.to possession of biometric data'!


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        "U-he questions DefendanL, seek to ccrti/y have hecn cllher directly oddn;t<$Cd or are
closely related 10 questions other judges h.ivc certified.
       Judge Raymond W. Miucbcll in McDonald v. Symphs>ny Rron,.cvillc M 1.1,C. Case
No. 17 CH 11311 has aln:ady certilicd • similor qUC5tioo to Oefcndanis• firs1 question in an
appeal is P<"'line under Morquita Mc()onald v. Svmphony BWJ?&vilk Pnrk, I LC. No. 1- l<>-
2J98.

        Similarty. in Juan Cone,. v, Jlcadly ManufAAP1rins CouCase No. J9 Cl I 4935. Judge
Anna Ii. Dcmacopoulos has ecnified the second question concerning of wh:u stntutc of
limituioos "!'P'Opiialcly applies Bil',\ claims. This coun is informed Iha! the l' irsl District has
occq,tcd lhc matter ond it is cunmtly being briefed.
      The third proposed question - as to wbcihcr o violatioo of section I S(o) begins accruing
when a private entity frrst comes into possession of biometric data - is not yet pending on appeal,
       A.       RuleJ08?
        Rule 30l!(o) provides as follows:

        When the uial oowt, in mnki"il an i01erlocu1ory order not otherv.isc oppealable,
        finds that the order iovolvesaqucstionoflaw· as to wbic.h there is substantial ground
        for difference of opiruon l.lJ\<l that an iromedin1c appeal from the order may
        materially advance the ultimate termination of I.he litigation. the court shall so state
        io writing. identifying the question o flawin\'Oh·cd.

tu.. SOP. er, R. 308(a).
             Rule 308(a) "should be strictly construed and sparingly exercised." Kjpcoid v. Smith,
252 JU . .App. 3d 618. 622 (I" DiSL 1993). "Appeal< under thi$ rule should be avnilable only in
lhc c.xcepti_onal case where there are compcl.l.iog reasons ror n::uderin_g an early dctennin.ation of a
critical question of law and where o determination of 1hc iassuc wouJd m31eri::tl1y advance I.be
I iti g._'ltion.... Jd.
         ll!ecausc Ruic JOl! should be suictly oonsuucd :,nd spari.agly c.xcn:iscd. thc coon wtll ,.,,
certify a question 31,.....Jy oceep.cd by the Appellate Coort. Accordingly. in the interests of
efficiency and of not burdening the First District v.ith i""uc in oases which echo one another. the
court declines to certify questions rognrding the applicability Qf Uk: Il.1inols Worker's
Compensation Act. or<1oestions conccmlng the appropriate statute of limjwLions under BlPA.
Answers to lho,:e questions should be ro<1hooming through the certifications by Judges MilcbcU
Md Ocmacopoulos.
       R ~ the thinl qoestion concerning the accrwl orsection IS(a} cloims, the court is
willing to certify a question r,gatdtng section 15{a) bot is not willing 10 certify the ques<ion as
cum:ntly phrased by Defendants.
       As explniocd by tbe coun in its January 27. 2020 Memorandum lllld Order. section I5(n)
contains 1wo disrinct requirements: (I) private entities in pos..~on of biomcl.ric dala muse
develoJ>a publicly available retention sebcdule and deletion guidelines; and (2) those guidelines

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must provide for the pennancnt destruction of biometric data w hen the initial purpose for
collectio.e the biometric data has been sa1islicd or within 3 years of the individual's la.s t
interaction wilh the private entity~whichever occurs first.
        Contrary 10 0.,fendants' pbrJsing of their question regarding section I 5(a), 1he court did
not ruJe that a section I 5(a) violation could only accrue once. R~1thcr the court interpreted section
15(a) as imposing t\vo distinct requirements on private entities each with se.para.le accrual dates.
The pure legal question is oot simply when docs the action for a violation of section I 5(a) accroe
but rothe.-r whether the coun's interrretat.ion of tbe !>1atutory language of section IS(a) is correcL
        ()efe,1dants molion is therefore denied, as ""'illen. lf lbey "'sh, Defendants may resubmit
the request to reflect this courfs ruling and it v.ill be reconsidered
       B.      Rule 304(a)?
       Rule 304(a) provides as follows:
        Ul multjp.le parties or multiple claims for relief are. invoJ\led in an action, an appeal
       ~}' be bkeo from a final judgment a..:; lO ooe or more but fewer than aJI of the
       parties or c.lairns only if lhe trial court has made an express wriUen finding lha1
       there is no just reason for delayi.o_g eiUler t:nforocment or appeaJ or both.
ILi.,. SUP. CT., R. 304(a).
       Rule 304(a) creates '·an exception to (the) general rule-of appeliale procc'dural law by
permitting appeals from triaJ court orde.rs that or\.ly dis~ o( :.i portion of the controversy
betweeo parties." M%lar4i-Platt A«nsiatcs, lnc.1. v. American Toxic Disposal fnc., 182 IIJ. App.
3d 17, 19 (1st Dist. 1989). Rule 304(a)'sexception "arises when a trial judge [.• .1makes an
express ful((ing Ul<lt tliete is uo just reason lo delay the cnforce:ment or appeal of the otherwise
nonfinal ,order." Id.
       Here, the court did issue i1 finaljudgmenl as to fewer than all of the claims on fanuary 27~
2020 when it granted Defendants' motion to reconsider and dismissed Counts ll aod l1l of
Robertson's Amended Complaint with prejudice becausc. th(..,-y were-barred by the .lppliC!lblc
smrute of.li.m.itatio.os.
        However, a..:; explained many is.,;ues Robertson would seek review orunder Rule 304(a)
will be di sposed ofby the Appellate Court's ru.1swers 10 Judge D<:macopoulos' certified question.
Tbcreforc. the court declines to make the noccssary linding to allow Robertson to appeal
pursuam 10 Rule 304(a).
10.    Conclusion
       Robertsonis motion for reconsideration is DENIED.
       Robertwn's request for a Rule J04(a) tuiding is DENIED.
       Defendants' wqucst forto ~rtify questions pursuantto Rule 308(a) is GRANTED IN
PART and l)ENHJD JN PART. l l1e court den.ies l)efendants' questions rcla1ing lo tho
application of lhe !Ui.nois Wo,ke,'s Compensation Act and ihe two-year SlatUb> o rlimiurtions.

                                                   9
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The court granis Defeodauls' request in so faros it seeks to certify a question ,doting 10 socrion
IS(o) but denies Dcfeooants· question os cu1TC11tlywriuen.
       Th9 wurt order., 1he pa.rtie11 to QQnf~r l!lld to attempt 10 ~cb Wl ugrwm~nt reg.lf(!ing lhc
phrusing or a question rcl«ting to the sce1ion I 5(a).
       TIie court set the next statu., <b.tc for this maucr as June· 16, 2020 al 9:30 a.m.




                                                                                                       /
                                                                                 Judge Neil H. Cohen




                                                  10
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                                 Exhibit D
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                            INTHECIRCUITCOURTOFCOOKCOUNTY,ILLINOIS
                               COUNrY DEPARTMENT. CHANCERYDIV:SION
                                    GENER.AL CHANCERY SECTION



      BRANDON WATSON, indivi<iially and 011
      behalf of all others similar! y situated,
                                                                         C.-\SE No.   19 CH 3425
                                 Plaintiff,
                                                                         CALENDARll
      V.

      LEGACY HEAL1HCARE FINANClAL SERVICES,
•     LLC dlb/aLegacy Heallhcare; LINCOLN PARK
      Src.n.Lm NuR.SING FACILITY. LLC dib/a
      Warren Barr Lincoln Park afk/a The Grove at
      Lincoln Park; and SOU1HLOOP SKILLED
      NultsING F\CILITY,LLC dlb/a Warren Barr
      SoulhLoop,

                                 Defendants.
                                                            ORDER
             This matter came before the Court on Defendants' 2-6 I 9 motion to dismiss the putative
      Class Action Complaint of Plaintiff Brandon Watson. For the reasons explained below, the
      motion is granted.
                                                       BACKGROUND
               Plaintiff was required to scan his hand to clock in and out of work at Defendants' nursing
      home facilities in Chicago. 1 Plaintiff worked as a Certified Nursing Assistant for Defendant
      Legacy Healthcare Financial Services, LLC ("Legacy"), which controls 26 nursing home
•     facilities in Illinois. He worked at Defendant Lincoln Park Skilled Nursing Facility, LLC from
      December of2012 through February of20! 9, and at Defendant South Loop Skilled Nursing
      Facility, LLC from May through November of2017.
              Plaintiff filed his one-count Class Action Complaint on March IS, 2019, alleging that
      Defendants failed to properly disclose and obtain releases related to the collection, storage, and
      use of his biometric information, in violation of the Illinois Biometric Information Privacy Act
      ("BIPA"). He asks for statutory damages and an injunction under BIPA, individually and on
      behalf of a class of similarly-situated employees.


      1 The  facts recited here are based upon the allegations of Plaintiff's Complaint, which are taken as true for purposes
      of this motion.
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               Defendants move to dismiss the Complaint under Section 2-619 of the Illinois Code of
       Civil Procedure, arguing that (l) Plaintiff's claims are time-barred; (2) Plaintiff's claims are
       preempted by the Illinois Workers Compensation Act; and (3) Plaintiffs claims are preempted
       by Section 30 l of the Labor Management Relations Act.
                                              APPLICABLE LAW
•
               The purpose of a section 2-619 motion to dismiss is to dispose of issues oflaw and easily
       proved issues of fact at the outset of litigation. Van Meter v. Darien Park Dist., 207 Ill. 2d 359,
       367 (2003). Section 2-619(a)(5) provides for dismissal of a claim that "was not commenced
       within the,/ime limited by law." Dismissal of a complaint pursuant to section 2-619(a)(9) is
       permitted where "the claim asserted against defendant is barred by other affirmative matter
       avoiding the legal effect of or defeating the claim." Id. The affirmati\·e matter must negate the
       cause of action completely. Id. The trial court must interpret all pleadings and supporting
       documents in the light most favorable to the nonmoving party, and grmt the motion only if the
       plaintiff can prove no set of facts that would support a cause of action. In re Chicago Flood
       Litigation, 116 Ill. 2d 179,189 (1997).

                                                   ANALYSIS
                                            (I) Statute of Limitations
             Defendants argue that Plaintiffs claim is barred by the statute of limitations. BIPA does
      not contain its own statute oflimitations, so Defendants contend that the claim should be
      governed by the one-year statute applicable to what it calls the "most analogous common law
•     claim"-invasion-of-privacy claims. That statute provides:
              Actions for slander, libel or for publication of matter violating the right of privacy, shall
              be commenced within one year next after the cause of action accrued.
      735 ILCS ~/13-20 I.
              This is not the applicable statute oflimitations. BIPA's Section 15(d) could be construed
      to address "publication of matter violating the right of privacy" in pre hibiting private entities
      from "disclos[ing], redisclos[ing], or otherwise disseminat[ing] a perrnn's or a customer's
      biometric identifier or biometric information ...." 740 ILCS 14/15(d). However, in this case
      Plaintiff did not include a claim under Section 15(d). Rather, he claimed violations only of
      Sections 15(a) and (b), which require private entities to publicly provide retention schedules and
      guidelines for permanently destroying biometric information, and to make disclosures and obtain
      releases before collecting, storing, and using that information. Sections (a) and (b) are violated
      even if there is no publication. Therefore, the one-year statute does not apply.
             Nor does the two-year statute oflimitations for a "statutory penalty" (735 ILCS 5/13-
      202) apply to this case. BIPA's liquidated damages provision is remedial, not penal. In
      Rosenbach v. Six Flags Entertainment Corp., the Illinois Supreme Court explained that the
•     General Assembly enacted BIPA "to try to head off such problems before they occur," by
      enacting safeguards and "by subjecting private entities who fail to follow the statute's

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    I




          requirements to substantial potential liability, including liquidated damages ...." 2019 IL
          123186, ,r 36. Like the Telephone Consumer Protection Act at issue in Standard Mutual Ins. Co.
          v. Lay, BIPA was "designed to grant remedies for the protection of rights, introduce regulation
          conducive to the public good, or cure public evils." 2013 IL 114617, ,r 31.
                  The applicable statute of limitations is the five-year "catch-all" provision of735 ILCS
          5/13-205. It begins to run on the date the cause of action accrued. Defondants argue that, even if
          the five-year statute applies, Plaintiff's claim is time-barred because his cause of action accrued
          when Defendant scanned Plaintiff's hand on his.first day of work-December 27, 2012. This suit
          was filed on March 15,2019, more than six years later.
                 Plaintiff argues that each daily scan of his hand violated BIPA, so his last day ofwork-
          February 21, 2019-is the key date for limitations purposes. He argues that all scans in the five
          years before he filed the Complaint are actionable.
                   Generally, a cause of action accrues "when facts exist that authorize one party to
          maintain an action against another." Feltmeier v. Feltmeier, 207 Ill. 2d 263,278 (2003). Plaintiff
I
          argues that his claims are most analogous to wage claims, where each inadequate paycheck gives
          rise to a separate cause of action. The same cannot be said for each of Plaintiff's hand scans, As
          the Court in Fe/tmeier stated:
                   [W]here there is a single overt act from which subsequent damages may flow, the statute
                  begins to run on the date the defendant invaded the plaintiff's ·nterest and inflicted injury,
                  and this is so despite the continuing nature of the injury.
          Id at 79. (emphasis added).
                  In wage claims, damages flow from each inadequate paycheck. Additional damages
          accrue every time a paycheck is short. By contrast, Plaintiff's damages flow from the "single
          overt act" of the initial collection and storage of his biometric data. According to the Complaint,
          "From the start of Plaintiffs employment with Defendants in 2012," Defendants required him to
          have his "fingerprint and/or handprint collected and/or captured so that Defendants could store it
          and use it moving forward as an authentication method." (Cplt ,rt8). The Complaint alleges that,
          before collecting Plaintiff's biometric information, Defendants did not provide Plaintiff with the
          required written notices and did not get his required consent. (Cplt fl 22, 23). While the
          Complaint alleges that Plaintiff had to scan his hand every day he worked, all his damages
,         flowed from that initial act of collecting and storing Plaintiff's handprint in Defendants'
          computer system without first complying with the statute. Plaintiffs handprint was scanned and
          stored in Defendants' system on Day I, allowing for authentication every time he signed in.
                 Plaintiff's cause of action accrued when his handprint allegedly was collected in violation
          of BIPA on his first day of work on December 27, 2012. Therefore, because Plaintiff filed his
          case on March 15, 2019, Plaintiff's claim is time-barred under the fiv~-year statute of limitations.
                  This holding disposes of the case, but the Court will address IJefendants' other arguments
          for the record.


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                                     (2) Preemption by Workers Compensation Act
              Defendant argues that Plaintiff's claims are preempted by the exclusive remedy
      provisions of the Illinois Workers Compensation Act (the "Act"), 820 ILCS 305/5(a) and 11.
              The Act "generally provides the exclusive means by which an employee can recover
      against an employer for a work related injury." Folta v. Ferro Eng'g, 2015 IL 118070, ,r 14.
      However, the employee can escape the Act's exclusivity provisions by establishing that the
      injury"(!) was not accidental; (2) did not arise from his [or her] employment; (3) was not
•     received during the course of employment; or (4) was not compensable under the Act." Id.
              Defendant argues that none of these exceptions apply in this case. In response, Plaintiff
      argues that exceptions (1) and (4) both apply-that the BIPA violations were not accidental and
      were not compensable under the Act.
              To show that an injury was not accidental, "the employee mm t establish that his
      employer or co-employee acted deliberately and with specific intent 1J injure the employee."
      Garlandv. Morgan Stanley & Co., 2013 IL App (1st) 112121, ,r 29. l'laintiffhas made no such
      allegation in his Complaint, so he has not established that the injury was not accidental. To put it
      another way, the Complaint leaves open the possibility that the injury was accidental. Plaintiff
      implicitly acknowledges this when he alleges that he and the members of the class are entitled to
      recover "anywhere from $1,000 to $5,000 in statutory damages." (Cplt ,r 57). Statutory damages
      of $1,000 may be recovered for negligent violations of BIPA (740 ILCS 14/20(1 )), and caselaw
      has equated "negligent" with "accidental" under the Act. See Senesac v. Employer's Vocational
      Res., 324 Ill. App. 3d 380,392 (1st Dist. 2001).
              Plaintiff also argues that exception (4) applies-the injury was not compensable under
      the Act. In Folta, the Illinois Supreme Court addressed how courts should analyze this
      exception.2 Rejecting the argument that the plaintiff's mesothelioma was not compensable under
•     the Act because recovery in his situation was barred by a statute of repose, the court focused on
      the type of i,yury alleged and whether the legislature intended such injuries to be within the
      scope of the Act. The court stated, "[W]hether an injury is compensable is related to whether the
      type of injury categorically fits within the purview of the Act." Id. at ,r 23. Because the Act
      specifically addressed diseases caused by asbestos exposure (such as !llesothelioma), the court
      found that the legislature contemplated that this type of disease woulcl be within the scope of the
      Act, and it was therefore compensable under the Act. Id. at ,r,r 25, 36.
              The same cannot be said for injuries sustained from violations ofBIPA. As the court
      stated in Liu v. Four Seasons Hotel, Ltd., 2019 IL App (1st) 182645, 1]30, BIPA "is a privacy
      rights law that applies inside and outside the workplace." By including in BIPA a provision for a
      private right of action in state or federal court (740 ILCS 14/20), the legislature showed it did not
      contemplate that BIPA claims would categorically fit within the purview of the Workers
      Compensation Act. Moreover, BIPA's definition of"written release" refers specifically to

      2
        Folta was decided under both the Workers Compensation Act and the Workers• Occupational Diseases Act, 820
      ILCS 310/5(a) and 11, which contain analogous exclusivity provisions.

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      releases executed by an employee as a condition of employment, further evidence that the
•     legislature did not intend the Workers Compensation Act to preempt BIPA actions in the
      employment context. 740 ILCS 14/10.
             The court holds that BIPA claims are not compensable under the Act. Therefore, BIPA
      claims fall within the fourth exception to the Act's exclusivity provisions. Plaintiff's BIPA
      claims are not preempted by the Act.
                          (3) Preemption by§ 301 of Labor Management Relations Act
               Finally, Defendant argues that this case should be dismissed :,ecause Section 301 of the
      Labor Management Relations Act (29 U.S.C. § 185(a)) preempts Plaintiff's. BIPA claim. That
      section provides:
             (a) Venue, amount, and citizenship. Suits for violation of contracts between an employer
                 and a labor organization representing employees in an industry affecting commerce as
                 defined in this Act, or between any such labor organizations, may be brought in any
                 district court of the United States having jurisdiction of the parties, without respect to
                 the amount in controversy or without regard to the citizenship of the parties.

             In analyzing this provision, the U.S. Supreme Court stated:
•
             [I]f the resolution of a state-law claim depends upon the meaning of a collective-
             bargaining agreement, the application of state law (which might lead to inconsistent
             results since there could be as many state-law principles as there are States) is pre-empted
             and federal labor-law principles-necessarily uniform throughout the Nation-must be
             employed to resolve the dispute.

      Lingle v. Norge Div. ofMagic Chef, 486 U.S. 399, 405-06 (1988).

             In Illinois, the First District Appellate Court explained the am,Jysis as follows:

             Where a matter is purely a question of state law and is entirely independent of any
             understanding of the terms of a collective bargaining agreement, it may proceed as a
             state-law claim. By contrast, where the resolution of a state-Jaw claim depends on an
             interpretation of the collective bargaining agreement, the claim will be preempted. Where
             claims are predicated on rights addressed by a collective bargaining agreement, and
             depend on the meaning of, or require interpretation of its terms, an action brought
             pursuant to state law will be preempted by federal labor laws. Defenses, as well
•            as claims, must be considered in determining whether resolution of a state-law claim
             requires construing of the relevant collective bargaining agreement.

      Gelb v. Air Con Refrigeration & Heating, Inc., 356 Ill. App. 3d 686, 692-93 (I st Dist. 2005)
      (internal citations omitted).


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               With their motion, Defendants submitted sworn declarations i ttaching copies of the
      collective bargaining agreements ("CBAs") in effect at the Lincoln P,trk and South Loop nursing
      facilities where Plaintiff worked. The Lincoln Park CBA with SEIU ~rovided, in relevant part:3

               Management of the Home, the control of the premises and the direction of the working
               force are vested exclusively in the Employer subject to the provisions of this Agreement.
               The right to manage includes ... to determine and change starting times, quitting times
               and shifts, and the number of hours to be worked ... to determine or change the methods
               and means by which its operations ought to be carried on; to set reasonable work
               standards ....

      (Dfts' Mot., Choi Dec., Exh. A, p. 7).
•
                The South Loop CBA with Local 743 in effect when Plaintiff worked at the South Loop
       facility in 2017 provided, in relevant part:

               [Sc Jth Loop] has, retains, and shall continue to possess and exercise all management
               rights, functions, powers, privileges and authority inherent in ,he right to manage
               includ[ing] ... the right to determine and change schedules, s arting times, quitting times.,
               and shifts, and the number of hours to be worked ... to determine, modify, and enforce
               reasonable work standards, rules of conduct and regulation (including reasonable rules
               regarding ... attendance, and employee honesty and integrity) ....

       (Dfts' Mot., James Dec., Exh. A, p. 5).

               Under Lingle and Gelb, the question is whether resolution of the BIPA claim in this case
       depends on an interpretation of the CBAs quoted above. Defendants argue that Plaintiff's claim
       "cannot possibly be resolved" without interpreting the governing CBAs. The Court disagrees.
       Resolution of this case is purely a question of state law-whether or not Defendants complied
       with BIPA by making the required written disclosures and getting the required written release
•      before collecting, storing, and using Plaintiff's biometric information. Even if the CBAs allowed
       Defendants to set a rule requiring Plaintiff to clock in with his handprint-as part of
       "determining reasonable work standards"-the Court does not need to interpret the CBAs to
       decide if Defendants complied with BIPA's requirements. This is so even though the unions may
       be PlaintiF.' s "legally authorized representatives" under Section l 5(b)(3) for purposes of signing
       the required release. The Court does not need to interpret the CBA to determine if the release
       was signed or not.

              The CBAs are only tangentially related to this dispute, if at all. As the U.S. Supreme
       Court stated in Allis-Chalmers Corp. v. Lueck, 471 U.S. 202,211 (1985), "(N]ot every dispute

       3 Defendants attached the CBA in effect between May I, 2017 and April 30, 2020. The relevant CBA would be the

       one in effect when Plaintiff began work at Lincoln Park on December 27, 2012. Even if Defendants had attached the
       correct CBA, though, Defendants· preemption argument fails for the other reasons described herein.

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       concerning employment, or tangentially involving a provision of a collective-bargaining
       agreement, is pre-empted by § 301 or other provisions of the federal labor law." (emphasis
       added). Preemption promotes uniformity offederal labor law, but preemption is required only if
       resolution of the dispute is "substantially dependent" on analysis of the terms of the CBA. Id. at
       220.
•
               As the court in Gelb directed, this Court has considered the defenses as well as the claims
      in this case. The Court notes that Defendants have raised no defenses that require an
      interpretation of the CBAs. Defendants do not assert that the unions received the required BIPA
      disclosures or signed BIPA releases on behalf of employees. Instead, they only point out that the
      broad management rights provisions of the CBAs allow them to set work standards. Deciding
      this case does not require the Court to interpret the CBAs.

              In making our holding, the Court respectfully declines to follow the nonbinding Seventh
      Circuit case of Miller v. Southwest Airlines, 926 F. 3d 898 (7th Cir. 2019) and the Northern
      District of Illinois cases that followed it, Gray v. Univ. ofChi. Med. Ctr., Inc., No. 19-cv-04229,
      2019 U.S. Dist. LEXIS 229536 (N.D. Ill. Mar. 26, 2019) and Peatry v. Bimbo Bakeries USA,
      Inc., No. 19 C 2942, 2020 U.S. Dist. LEXIS 32577 (N.D. Ill. Feb. 26, 2020). Our case involves a
      motion to dismiss under Section 2-619 of the Illinois Rules of Civil Procedure, which should be
      granted "only if the plaintiff can prove no set of facts that would support a cause of action." In re
      Chicago Flood Litigation, 176 Ill. 2d 179, 189 (1997). Here, Plaintiff could prove a set of facts
      under which his claim was not preempted. Defendants did not meet their burden of proof on their
      2-619 motion to dismiss argument based on Section 30 I preemption.
•
                                                CONCLUSION

             Defendants' Motion to Dismiss is granted under 2-619(a)(5) and Plaintiff's Complaint is
      dismissed with prejudice for failure to bring suit within five years afkr the cause of action
      accrued. This is a final order disposing of all matters.




                                                                                 ..____
                                                            Judge Pamela McLean Meyerson



                                                                                  1udge Pamela McLean MeyGIIOII
•                                                                                       JUN 10 2020
                                                                                    Circuit Court-2097
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